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                                            September 24, 2019

   VIA ECF AND E-MAIL TO DEVON CORNEAL@NJD.USCOURTS.GOV

   The Honorable Susan D. Wigenton
   United States District Judge
   U.S. District Court for the District of New Jersey
   Martin Luther King, Jr. Federal Building & U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07102

             Re:       In re: Zimmer Durom Cup Products Liability Litigation
                       Master Docket, 2:09-cv-04414-SDW-SCM (“Master Docket”)

   Dear Judge Wigenton:

   Below is the teleconference dial-in information to be used for the telephonic status conference
   scheduled for September 26, 2019:

                                   Dial-in (US): 877-636-9498
                                   Conf. Code: 465-562-1977

   If the Court requires additional information prior to the status conference, please do not hesitate to
   contact me.


                                                   Very truly yours,

                                                   /s/ Stephanie N. Russo

                                                   Stephanie N. Russo




   US.124736396.01
